        Case 8:05-cr-00393-SDM-TBM Document 117 Filed 04/06/06 Page 1 of 6 PageID 197
A0 245B (fiev 12/03) Sheet 1 - Judgment in a Criminal Case


                            UNITED STA TES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DIVISION



UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                                              CASE NUMBER: 8:05-cr-393-T-23TBbi
                                                              USM NUMBER: 48150-018
VS.




JUVENIIIL'O GARCIA-PEREZ
                                                               Defendant's Attorney: Cin~osA. Angelis, cja

TI-IE DEFENDANT:

7
 X pleaded guilty to counts ONE and TWO of the Indictment.


TITLE & SECTION                              NATURE OF OFFENSE                           OFFENSE ENDED                COUNT

46 Appendix, U.S.C. $5 1903Q); and           Conspiracy to Possess with Intent to        August 30. 2005              OKE
2 1 L1.S.C. $ 960(b)(l)(B)(ii)               Distribute Five Kilograms or more of
                                             Cocaine While on Board a Vessel
                                             Subject to the Jurisdiction of the United
                                             States

46 Appendix, U.S.C. $5 1903(a)               Possess with Intent to Distribute Five      August 30. 2005              TWO
,and 1903(g); and 21 U.S.C. $                Kilograms or More of Cocaine While
960(b)(l)(B)(ii)                             on Board a Vessel Subject to the
                                             Jurisdiction of the United States

        The del'endant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Scntcncing Reform Act of 1984.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by diis judgment are fully
paid.
If ordered to pay restitution, the defendant shall notify the coun and United States Attorney of any material change in economic
circu~nstances.


                                                                                 Date of Imposition of Sentence: March 30, 2006




                                                                                                                  I

                                                                                      S T E V E N D. MERRYDAY               i
                                                                                 U M T E D STATES DISTRICT JUDGE

                                                                                 DATE:             542m6
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. A 0 215B (RCV 12/03) Sheet 2 - Imprisonment
Drfcndmt:           JUVENTINO GARCIA-PEREZ                                                       Judgment - Page 1of 6
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                 The defendant is hereby committed to the custody of the Unilecl Statcs Bureau of Prisons ~obc
imprisolled for a total tern1 of EIGHTY-SEVEN (87) hlONTHS as to cou~itsonc and two of the Indicln~cnt,both t e r ~ i l sto
ruli concurrently.




-
X The court rnakes the following reconlrnendations to the Bureau of Prisons: that the Bureau of Prisons place the defendant
in a Southern California correctional facility that will afford the defendant job opportunities.



;Y The defendant is remanded to the custody of the United States hlarshal.
- The defendant shall surrender to the United States hilarshal for this district.

          - at - ~m.1p.m.on        -.
          - as notified by the United States Marshal.

- The defendan sl~allsurrender for service of sentence at tile institution designated by tl~enureau of Prisons.

          - before 2 p.m. on -.
          - as notified by the United States Marshal.
          - as notified by the Probation or Prcrrial Services Office.




                                                                     RETURN

          1 have executed this judgment as follows:




          Defendant delivered on                                                    to

ar                                                                        . with a certified copy of this judgment.

                                                                                         United States Marshal

                                                                        By:

                                                                        Deputy Marshal
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A 0 245B (licv. 12103) Sheet 3 - Supervised Release

Defendant:           JUVENTINO GARCIA-PEREZ                                                                  Judgment - Page 3of 6
Case No.:            8:Oj-cr-393-T-23TBhl

                                                         SUPERVISED RELEASE

        Upon release from imprisomlent, the defendant shall be on supervised release for a term of SIXTY (60) I\lONrTIIS as to
counts one and two, both tcrriis to run concurrently.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from rhe custody of the Bureau of Prisons.

         While on supervised release, the defendant shall not commit another federal, state, or local crime, and shall not possess a
tirearm, ammunition, or destructive device as defined in 18 U.S.C. 5 921.

X        The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
         controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, thc Court
         authorizes random drug testing not to exceed 104 tests per year.

X
-        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

             If this judgment imposes a fine or a restitution it is a condition of superviscd release that the defendant pay in accordance
             with the Schedule of Payments sheet of this judgment.

             The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
             conditions on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
 1)          thc defendant shall not leave the judicial district without the permission of the court or probation oficcr;

 2)          thc defendant shall rcport to the probation officer and shall submit a truthful and complete written rcport within the first five days
             of each month:

 3)          the defendant shall answcr truthfiilly all inquirics by the probation officer and follow thc instructions of the probation officcr;

 4)          the defendant shall support his or her dcpcndcnts and meet other family rcsponsibilities;

 5)          thc defendant shall work regularly at a lawful occupation, unless cxcuscd by the probation oficcr for schooling. training, or othcr
             acceptable reasons;

 6)          the defendant shall notify thc probation officcr at least ten days prior to any change in residencc or cniploymcnt:
 7)          thc defendant shall refrain from excessive use of alcohol and shall not purchase. possess, usc, distribute. or administer any
             controlled substance or any paraphernalia relatcd to any controlled substanccs, cxccpt as prescribed by a physician;

 8)          the defendant shall not frequent places where controlled substances arc illegally sold, uscd, distributed. or administered;

 9)          the defendant shall not associate with any persons cngaged in criminal activity and shall not associate with any person convicted
             of a felony. unless granted permission to do so by the probation officer:

 10)         the defendant shall pcrmit a probation officer to visit him or hcr at any tinic at homc or clscwhcrc and shall pem~itconfiscation of
             any contraband observcd in plain view of the probation oficcr;

 1 1)        thc defendant shall notify the probation officcr within seventy-two hours of being arrested or questioned by a law enforccnicnt
             officer;

 12)         the defendant shall not entcr into any agreemcnt to act as an informcr or a spccial agent of a law cnforccment agency without the
             permission of the court:

 13)         as directed by the probation officer, the dcfcndant shall notifythird partics ofrisks that may be occasioned by thc dcfcndant's criminal
             rccord or personal history or characteristics and shall permit the probation officcr to makc such notifications and to confirm thc
             defendant's compliancc with such notification rcquircment.
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                               -
A 0 245B (Rev. 12/03) Sliest 3C Supervised Kelease

Dr fendant:       JUVENTINO GARCIA-PEREZ                                                              Judgment - Page 4 of 6
                                                                                                                           --
Case No.:         8:05-cr-393-T-23TBM
                                       SPECIAL COhWITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:

X
-        If the defendant is deponed, he shall not re-enter the United States without the express pernlission of the appropriate
         governmental authori~y.currenrly the United States Department of 1-Iomeland Security.
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A 0 245B (Rev 12/03) Sheet 5   - Criminal Monctary Penalties
Defendant:        JUVENTINO GARCIA-PEREZ                                                      Judgment - Page 5 of 6
Case No. :        8:05-cr-393-T-23TBM

                                           CRIMINAL MONETARY PENALTIES

         Tlie defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                           Assessment                             -
                                                                  Fie                         Total Restitution

         Toti~ls:          $200.00                                $ waived                    $


-        The deter~ninationof restitution is deferred until .             An Allzelided Jlrdgtrle~~r
                                                                                                  in a Crilnitlal Case ( A 0 245C) will
         be entered after such determination.
-        The defendant must make restitution (including community restitution) to the followirig payees in the amount listed
         below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
         specified otherwise in the priority ordcr or percentage pa ment column below. However. pursuant to 18 U.S.C. 5
         3664(i). all non-federal victims must be paid before the dnited Slates.
                                                                                                              Priority Order or
                                                   *Total                    Amount of                        Pcrcentage of
                                                Anlount of Loss           Restitution Ordcred                 Pavment




                           Totals:              L                         L

 -       Restitution amount ordered pursuant to plea agreement $
 -       The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or tine is paid in full
         before the fifteenth day after the date of the judgment, ursuant to 18 U.S.C. 8 3612(f). All of the payment options on Sheet
         6 may be subject to penalties lor delinquency and dezult, pursuant to 18 U.S.C. 8 3612(g).
 -       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        -        the interest requirement is waived for the - fine           - restitution.
        -        the interest requirement for the - fine          - restitution is modified as follows:

* Findings for the total amount of losses are required under Cha ters 109A, 110, llOA, and 113A of Title 18 for the offenses
co~nrnittedon or after September 13. 1994, but before April 23, 1 96. 8
       Case 8:05-cr-00393-SDM-TBM Document 117 Filed 04/06/06 Page 6 of 6 PageID 202
A 0 745B (Rev 12/03) Sheer 6 - Scl~eduleof Paymmu

Defendant:        JWENTlNO GARCIA-PEREZ                                                              Judgment - Page 6of 6
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                                                  SCI-IEDULEOF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.       X        Lump sum payment of $ 200.00 due immediately, balance due
                                 not later than                , Or

                            -in accordance - C, - D, - E or - F below; or
B.       -        Payment to begin immediately (may be combined with -C, -D. or -F below): or
C.       -        Payment in equal                 (e.g., weekly, monthly, quarterly) installments of S             over a
                  period of           e.g., months or years). to commence              days (e.g., 30 or 60 days) after the
                  dare of this judgmebt: or
D.       -        Payment in equal                         weekly. monthly, quarterly) installlnents of $             over a
                  period of                        (e*t!is or years) to comn~ence
                                        , (e.g., nlon                                              (e.g. 30 or 60 days) after
                  release from imprisonment to a tern1 of supervision; or
E.       -        Payment during the term of supervised release will commence within                         (e.g.. 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
F.       -        Special instructions regarding the payment of criminal monetary penalties:




         i                              F                             S
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made to the clerk o t e court. '
Unless the court has expressly ordered otherwise, if this jud ment imposes a period of im risonment, payment of criminal
monetar penalties is due during i ~ nrisonment. All crimin monetary penalties, except lose a men8 made through the
                                                                                                           PK
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount. Joint and
Several Amount. and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:


Pay~nentsshall be applied in the following order: (1) assessment, (2) restitulion principal, (3) restitution interest, (4) title principal,
( 5 ) community restitution. (6) line interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
